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                     IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF COLORADO

Criminal Case No.    22-cr-00113-CMA-GPG

UNITED STATES OF AMERICA,

       Plaintiff,

v.

1.   DEBRA CAMPBELL,

       Defendant.


                    GOVERNMENT=S SENTENCING STATEMENT



       The United States of America hereby files the Government’s Sentencing

Statement.

       The correct Total Offense Level in this case is 21 with a corresponding guideline

range of 37-46 months of imprisonment. The government recommends a sentence of

37 months in prison, 3 years of supervised release, restitution in the total amount of

$410,889 to be apportioned as described in the parties’ Stipulation Re Restitution at

Docket No. 17 and in the Presentence Report, and a mandatory special assessment of

$200. Due to the large amount of restitution and the defendant’s financial

circumstances, no fine is recommended. This recommended sentence best serves the

sentencing goals set forth under 18 U.S.C. § 3553(a).



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                                      Wire Fraud

       As set forth in the plea agreement, from 2009 through April 2018, defendant

Campbell owned and operated a company called A Better Alternative Management

(ABAM) in Grand Junction, Colorado. [Doc. # 10 at pg. 8]. ABAM was hired by

Homeowners Associations (HOAs) to manage their finances for a monthly fee of

between $150 and $750, depending on the level of service that the HOAs requested.

[Id. at 8-9]. Between early 2015 and April 2018, ABAM managed approximately 59 to

70 HOAs. [Id.]. As a result of these management relationships, Campbell had access

to, and signatory authority for, the HOAs’ bank accounts. [Id.]. Campbell collected

and deposited payments from HOA members and paid administrative expenses on

behalf of the HOAs. [Id.]. Through these management relationships, Campbell

became aware of which HOA boards did not monitor their HOA’s bank account and

finances. [Id.].

       In approximately 2015, Campbell obtained Payday loans for personal expenses

and had trouble making the repayments. [Id.]. In order keep up with her loan

payments, starting in March 2015, Campbell began making unauthorized transfers to

ABAM’s bank accounts from some of the HOAs’ bank accounts and used that money

for her personal expenses, including repaying her loan. [Id.]. Campbell selected

HOAs whose boards did not monitor their HOA’s bank account or finances. [Id.].

Initially, Campbell told herself that she intended to repay the money. [Id.]. But when



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Campbell realized that no one noticed the money missing from the HOA accounts, she

did not repay the money and continued to steal more and more money. [Id.].

       In order conceal and perpetuate her theft, Campbell regularly altered the HOAs’

bank statements so they did not reflect the unauthorized transfers and falsely reflected

a higher balance than actually existed in the account. [Id.]. Campbell provided these

altered and false bank statements to the HOAs to support the false account

reconciliations that she created and provided to the HOAs as part of her services. [Id.].

Campbell provided these false records to the HOAs with the intent to deceive them

regarding the number of payments that had been made from their accounts and what

their account balances were. [Id.]. In this manner, between March 2015 and April

2018, Campbell stole more than $250,000 from her client HOAs. [Id. at 9-10].

       Prior to April 2018, the Division of Real Estate of the Department of Regulatory

Agencies in Colorado began investigating Campbell’s misappropriation of client funds.

[Id. at 10]. On April 17, 2018, Campbell signed Stipulation Order (2017-2103) in which

she admitted to violations of community association manager licensing laws/rules,

including converting/diverting the funds of others. [Id.]. As a result of this Stipulation

Order, Campbell’s community association manager license was permanently revoked

effective May 1, 2018, and Campbell began closing down ABAM. [Id.].

       Despite having already signed the Stipulation Order, when Campbell was

confronted by an HOA board member on April 20, 2018, Campbell lied and made

another unauthorized transfer to cover up her embezzlement. [Id.]. Specifically, on

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April 20, 2018, R.B., an HOA board member, went to Alpine Bank with the HOA’s

treasurer to obtain access to the HOA’s bank account. [Id.]. A bank employee

advised R.B. that the HOA’s bank account had been closed in 2017. [Id.]. R.B. was

alarmed because he had expected the bank account to have a balance of

approximately $55,000. [Id.]. R.B. and the treasurer went to ABAM’s offices and

confronted Campbell. [Id.]. Campbell falsely reassured them that she would access

the bank account and see what was going on. [Id.]. About ten minutes later,

Campbell told them everything was fine and provided them with what she represented

was a printout of the account showing a balance of $55,674.99. [Id.]. In fact,

Campbell transferred $55,674.99 from another HOA’s bank account to falsely make it

appear as though R.B.’s HOA’s bank account had not been closed. [Id.]. In turn,

Campbell then falsely told the HOA from which she had taken the $55,674.99 that the

IRS had taken the money. [Id.].

      Campbell knew that her fraud scheme was easier both to commit and conceal

because the HOAs she targeted trusted her and did not supervise her in her role of

managing their finances and bank accounts. [Id. at 11]. Through her scheme,

Campbell stole money from approximately 23 HOAs. [Id.].

                         Subscribing to a False Tax Return

        Because Campbell and her husband had prior outstanding tax obligations,

Campbell put ABAM in the names of her children so that the IRS would not levy her

income, but Campbell had exclusive control of ABAM and ABAM’s income was income

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to Campbell. [Id.]. To hide her income from the IRS, Campbell paid her personal

expenses out of ABAM’s bank account rather than taking a salary. [Id.].

       Campbell used Turbo Tax to personally prepare Partnership Returns (Forms

1065) for ABAM for the tax years 2014-2016, which she had her daughter sign. [Id.].

On those Forms 1065 for tax years 2014-2016, Campbell failed to include in ABAM’s

gross receipts all of the money ABAM earned through legitimate fees or any of the

money that Campbell had embezzled from the HOAs. [Id.].

       On May 1, 2018, Campbell met with an IRS Revenue Agent who was performing

an audit pertaining to Campbell and her husband. [Id. at 12]. The IRS Revenue Agent

showed Campbell a summary of bank deposits for 2015-2016 that showed that ABAM’s

Forms 1065 for those years underreported gross receipts by at least $250,000. [Id.].

       On July 3, 2018, Grand Junction Police Detective Knowles interviewed Campbell

about her embezzlement, and Campbell said: “I am also in trouble with the IRS, just so

you know… this is how dumb I am… I didn’t, I wasn’t thinking that was income on my

taxes. I would put all my 1099s but not all that money that was in my account.” [Id.].

Detective Knowles and Campbell further discussed that Campbell was obligated to

report and pay taxes on money that she stole from the HOAs. [Id.].

       On August 14, 2018, an IRS Revenue Officer asked Campbell to file Individual

Income Tax Returns (Forms 1040) for the tax years 2012-2017, which had not

previously been filed. [Id.].



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       On September 19, 2018, Campbell and her husband filed with the IRS joint

United States Individual Income Tax Returns (Forms 1040) for the tax years 2014-2017,

on which Campbell willfully did not include either her legitimate income from ABAM’s

HOA management business or the income from her embezzlement. [Id.]. Instead,

each of these Forms 1040 included a Schedule C purportedly for income derived from

ABAM, but the Schedule C described ABAM as her husband’s construction business

and only included income earned by Campbell’s husband through his work as a

construction contractor. [Id.].    Campbell signed and filed these returns knowing that

they substantially underreported her taxable income and knowing that she had a legal

obligation to report and pay taxes on all of her taxable income. [Id. at 12-13].

       The parties have stipulated that the Court should order restitution to the IRS in

the amount of $53,079.58. [Doc. # 17 at 2]. But the loss resulting from Campbell’s

false statements on her 2014-2017 tax returns is $158,820. [Doc. # 10 at 14]. This is

the loss figure that the Court should consider for all sentencing purposes other than

restitution.

       Campbell’s wire fraud scheme spanned more than three years. It was not a

one-time mistake that was immediately regretted. She also used the knowledge

gained from her position of trust with her HOA clients to select her targets based on

which HOA boards did not monitor their bank account or finances. Even after she

knew that her conduct had been discovered by the Division of Real Estate of the

Department of Regulatory Agencies in Colorado, Campbell continued to lie to HOA

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clients and made an unauthorized transfer in an attempt to cover up her embezzlement.

Likewise, her tax crimes implicate years of relevant and willful conduct that led up to her

subscribing to the false tax returns at issue in this case.

       The Court should focus on the facts of this case while applying the sentencing

factors under Section 3553. Because of the seriousness of the defendant’s crimes, the

need to promote respect for the law and provide just punishment, and the need for

general and specific deterrence, the government requests that the Court impose a

sentence that includes 37 months of imprisonment.



                                            Respectfully submitted,

                                            COLE FINEGAN
                                            United States Attorney

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                               CERTIFICATE OF SERVICE


        I hereby certify that on this 5th day of October, 2022, I electronically filed the
foregoing with the Clerk of the Court using the CM/ECF system, which will send
notification of such filing to all counsel of record in this case.



                                                          s/ Amy McDaniel
                                                          Amy McDaniel
                                                          Legal Assistant
                                                          U.S. Attorney’s Office




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